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January 9, 2004

VIA FACSIMILE & U.S. MAIL

Mr. Thomas F. Koernke
Koernke & Crampton, P.C.
940 Monroe Avenue, N.W.
Suite 250

Grand'Rapids, MI 49503

Re: Ryan v McGinn-Loomis, et al
Case No. 1:03-cv-439

Dear Tom:

Thank you for your telephone call informing me that you are representing
Judge Gardner and her staff in connection With their depositions

l understand that your clients have agreed to appear for their depositions on
Monday, January 12, 2004, beginning at 2:00 p.m. But l also understand that you will ‘
not allow your clients to testify regarding certain subject matters.

I previously advised Judge Gardner of the general subject matters that we
intended to explore during the depositions Importantly, those subject matters do not
include the merits or substance of Case No. 01-09528-DZ, over which Judge Gardner
presided Nor will l ask a single question regarding Judge Gardner’s mental processes in
arriving at her judicial decisions I agree that questions in these areas are generally (but
no always) off limits

I do, however, intend to examine Judge Gardner and her staff regarding
facts and events that they either observed or participated in. The case law that we have
examined draws a sharp distinction between questions about facts observed by a judge
and questions regarding a judge’s mental processes in arriving at a particular decision
The latter is generally not a proper subject matter for examination; the fenner is perfectly

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appropriate See, e.g., Um'ted States v. Morgan, U.S. 409, 421; 61 S.Ct. 999; 85 L.Ed.
1429 (1941) (lt is generally inappropriate to question a judge regarding his mental
processes in deciding an issue); United States v. Roebuck, 271 F.Supp.Zd 712, 718 (Dist.
Virgin lslands, 2003) (“[A] judge may be called to testify to relevant matters of fact that
do not probe into or compromise the mental processes employed in formulating the
judgment in question.”); Joachim v. Chambers, 815 S.W.Zd 234, 239 (Tex., 1991) (“A
judge must, like everyone else, testify to relevant facts within his personal knowledge
when summoned to do so.”)

As I explained to you, l have no objection to alerting you to the general
subject matters that l intend to explore with Judge Gardner and her staff during their
depositions They are as follows:

The relationships between Judge Gardner and her staff and Adele
McGinn-Loomis.

The relationships between Judge Gardner and her staff and Mary
Benedict.

The facts and circumstances surrounding all contacts, ex parte or
otherwise, between Judge Gardner and her staff and Adele McGinn-
Loomis in regard to Case No. 01-09528-DZ.

The facts and circumstances surrounding all contacts, ex parte or
otherwise, between Judge Gardner and her staff and Mary Benedict
in regard to Case No. 01-09528-DZ.

The manner in which Case No. 01-09528-DZ was assigned to Judge
Gardner. This line of questioning may include questions regarding
court policies and procedures relating to ex parte contacts and
judicial assignments

An explanation regarding the timing and sequence of a set of ex
parte orders signed September 19, 2001. I will not ask Judge

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Gardner any questions regarding her mental processes in deciding to
sign these orders But l will ask Judge Gardner questions relating to
whether she was aware that Case No. 01-09528-DZ had not been
filed or assigned to her when she signed the orders on September 19,
2001.

Of course, as you well know, a deposition can take on a life of its own,
depending upon the responses provided by the witness Although I will set out to cover
only the areas described above, I cannot commit to questioning only in these areas Butl
can promise you that I will not ask Judge Gardner or her staff any questions relating to
Judge Gardner’s mental processes in arriving at her decisions

With this general explanation of my intended examinations l request that
you advise me in writing whether you will direct your clients not to answer my questions
in these areas If that is your intention, then it makes sense to avoid the inconvenience to
your clients of having to appear for deposition only to have you direct them not to answer
my questions We can then bring this issue to Judge McKeague for a ruling

l appreciate your cooperation and courtesy in this matter, and l look
forward to receiving your response Thank you.

Sincerely,

MILLER, Jor-rNSoN, SNELL & CUMMISKEY, P.L.C.
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JSB/jgs

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